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                                    UNITED STATES DISTRICT COURT
                                         DISTRICT OF NEVADA


 KIRBY SPENCER,
                      Plaintiff(s),                                   2:24−cv−00085−MMD−BNW

 vs.                                                                  MINUTE ORDER

  PORTFOLIO RECOVERY ASSOCIATES,
L.L.C.,                                                                January 10, 2024
                     Defendant(s).


PRESENT:
The Honorable      Miranda M. Du      , U.S. District Judge

Deputy Clerk:     Chantal Torres                Recorder/Reporter: None Appearing

Counsel for Plaintiff(s): None Appearing            Counsel for Defendant(s): None Appearing

       The above−entitled action was received on 01/05/2024 pursuant to a court order directing transfer from the
Southern District of California and assigned case number 2:24−cv−00085−MMD−BNW . All future documents
filed with this court shall bear said correct case number.

      IT IS ORDERED that all non−resident counsel shall file a Verified Petition, Motion for Permission to Practice
in This Case Only by 01/24/2024. This form is available on the court's website at www.nvd.uscourts.gov.

         IT IS FURTHER ORDERED that counsel shall have until 02/09/2024, to file a Joint Status Report which
shall:

          1. Set forth the current status of this action, including a list of pending motions and/or other matters
          requiring the attention of this Court.

          2. Include a statement by counsel of action required to be taken by this Court.



                                                              DEBRA K. KEMPI, CLERK


                                                              By: /s/ Chantal Torres

                                                                    Deputy Clerk
